                     Case 5:21-cr-00074-OLG Document 1 Filed 02/05/21 Page 1 of 19

PROB 22                                                                                                            DOCKET NUMBER (Tran. Court)
(Rev. 2/88)
                                                                                                                    0104 3:13CR00768-001
                            TRANSFER OF JURISDICTION                                                               DOCKET NUMBER (Rec. Court)
                                                                                                                      SA:21-CR-00074
NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE                          DISTRICT                              DIVISION

                                                                                        Puerto Rico                    U.S. Probation Office
                                                                             NAME OF SENTENCING JUDGE

Emmanuel Colon-Melendez                                                                     Hon. Jay A. Garcia-Gregory, USDJ
                                                                             DATES OF PROBATION/       FROM                     TO
                                                                             SUPERVISED RELEASE
                                                                                                           04/12/2018                04/11/2021
OFFENSE


18 U.S.C. § 922(o) and 2, & 924(a)(2) Possession of a machine gun
18 U.S.C. § 922(k) and 924 (a)(1)(B) Possession of a firearm with an obliterated serial number                                  FILED
                                                                                                                         February 05, 2021
                                                                                                                       CLERK, U.S. DISTRICT COURT
                                                                                                                       WESTERN DISTRICT OF TEXAS

                                                                                                                                        cd
                                                                                                                    BY: ________________________________
PART 1 - ORDER TRANSFERRING JURISDICTION                                                                                                    DEPUTY
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF PUERTO RICO

          IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. 3605, the jurisdiction of the probationer
    or supervised releasee named above be transferred with the records of this Court to the United States
    District Court for the             Western District of Texas                  upon that Court’s order
    of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
    supervised release may be changed by the District Court to which this transfer is made without further
    inquiry of this court.


                                                                                      V-D\$*DUFLD*UHJRU\
                                        Date                                                     United States District Judge

*This sentence may be deleted in the discretion of the transferring Court.
PART 2 - ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF WESTERN DISTRICT OF TEXAS



          IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
    releasee be accepted and assumed by this Court from and after the entry of this order.




       -DQXDU\

                Effective Date                                                      United States District Judge




                                                                                                                                                  19
         Case
         Case 3:13-cr-00768-JAG
              5:21-cr-00074-OLG Document
                                 Document98
                                          1 Filed
                                            Filed 02/05/21
                                                  02/05/21 Page
                                                           Page 21 of
                                                                   of 19
                                                                      19



                        United States District Court
                     District of Puerto Rico (San Juan)
            CRIMINAL DOCKET FOR CASE #: 3:13−cr−00768−JAG−1

Case title: USA v. Colon−Melendez et al
Related Case: 3:16−cv−02193−JAG
Magistrate judge case number: 3:13−mj−01222−CVR

Date Filed: 10/23/2013
Date Terminated: 03/25/2014

Assigned to: Judge Jay A.
Garcia−Gregory
Appeals court case number:
14−1422

Defendant (1)
Emmanuel Colon−Melendez             represented by Wilfredo Diaz−Narvaez
TERMINATED: 03/25/2014                             Wilfredo Diaz Narvaez Law Office
                                                   PO Box 31270
                                                   San Juan, PR 00929−2270
                                                   787−759−7269
                                                   Fax: 787−753−4598
                                                   Email: attwdn@hotmail.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: Retained

Pending Counts                                    Disposition
18:924(a)(2) POSSESSION OF A
                                                  IMPR for 60 months; SRT of 3 yrs; SMA of
MACHINE GUN
                                                  $200.00; Forfeiture
(1)
18:922(k) AND 924(a)(1)(B)
POSSESSION OF A FIREARM
                                                  IMPR for 60 months; SRT of 3 yrs; SMA of
WITH AN OBLITERATED
                                                  $200.00; Forfeiture
SERIAL NUMBER
(2)

Highest Offense Level (Opening)
Felony

Terminated Counts                                 Disposition
None



                                                                                             1
        Case
        Case 3:13-cr-00768-JAG
             5:21-cr-00074-OLG Document
                                Document98
                                         1 Filed
                                           Filed 02/05/21
                                                 02/05/21 Page
                                                          Page 32 of
                                                                  of 19
                                                                     19




Highest Offense Level
(Terminated)
None

Complaints                                       Disposition
18:922(o)(1) Violent
crime/drugs/machine gun,
18:922(k) Sell defaced firearms



Interested Party
US Probation Office



Plaintiff
USA                                       represented by Evelyn Canals−Lozada
                                                         United States Attorneys Office
                                                         District of Puerto Rico
                                                         Torre Chardon Suite 1201
                                                         350 Chardon Ave
                                                         San Juan, PR 00918
                                                         787−282−1934
                                                         Fax: 787−766−6222
                                                         Email: evelyn.canals@usdoj.gov
                                                         TERMINATED: 01/19/2021
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Luke V. Cass
                                                        TERMINATED: 11/18/2013
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Pedro R. Casablanca−Sagardia
                                                        United States Attorneys Office
                                                        District of Puerto Rico
                                                        Torre Chardon Suite 1201
                                                        350 Chardon Ave
                                                        San Juan, PR 00918
                                                        787−282−1824
                                                        Email: pedro.r.casablanca@usdoj.gov
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: AUSA Designation

 Date Filed        #   Page Docket Text
 10/17/2013        1

                                                                                              2
     Case
     Case 3:13-cr-00768-JAG
          5:21-cr-00074-OLG Document
                             Document98
                                      1 Filed
                                        Filed 02/05/21
                                              02/05/21 Page
                                                       Page 43 of
                                                               of 19
                                                                  19



                     COMPLAINT as to Emmanuel Colon−Melendez (1), Ricardo Colon−Melendez
                     (2). (Attachments: # 1 Affidavit) (cm) [3:13−mj−01222−CVR] (Entered:
                     10/21/2013)
10/17/2013   2       *RESTRICTED* ARREST Warrant Issued by US Magistrate Judge Camille L.
                     Velez−Rive in case as to Emmanuel Colon−Melendez, Ricardo
                     Colon−Melendez. (cm) [3:13−mj−01222−CVR] (Entered: 10/21/2013)
10/18/2013           Arrest of Emmanuel Colon−Melendez, Ricardo Colon−Melendez (yr)
                     [3:13−mj−01222−CVR] (Entered: 10/21/2013)
10/18/2013   3       Minute Entry for proceedings held before US Magistrate Judge Camille L.
                     Velez−Rive:Initial Appearance as to Emmanuel Colon−Melendez, Ricardo
                     Colon−Melendez held on 10/18/2013. Defendants were provided with copy of
                     the complaint and advised as to the charges and their rights. Defendants notified
                     that both of them would be retaining attorney. Preliminary
                     Examination/Detention Hearing set for 10/23/2013 at 01:30 PM in
                     Courtroom 11 before US Magistrate Judge Camille L. Velez−Rive.
                     Defendants are ordered detained pending hearings. (yr) [3:13−mj−01222−CVR]
                     (Entered: 10/21/2013)
10/18/2013    4      ORDER scheduling detention hearing as to Emmanuel Colon−Melendez.
                     Defendant is TEMPORARILY DETAINED pending hearing. Signed by US
                     Magistrate Judge Camille L. Velez−Rive on 10/18/2013.(yr)
                     [3:13−mj−01222−CVR] (Entered: 10/21/2013)
10/22/2013    6      NOTICE OF ATTORNEY APPEARANCE: Wilfredo Diaz−Narvaez appearing
                     for Emmanuel Colon−Melendez (Diaz−Narvaez, Wilfredo)
                     [3:13−mj−01222−CVR] (Entered: 10/22/2013)
10/22/2013    7      MOTION to Continue PRELIMINARY EXAMINATION/DETENTION
                     HEARING by Emmanuel Colon−Melendez. Suggestions in opposition/response
                     due by 11/7/2013 (Diaz−Narvaez, Wilfredo) [3:13−mj−01222−CVR] (Entered:
                     10/22/2013)
10/23/2013    8      ORDER denying as moot 7 Motion to Continue as to Emmanuel
                     Colon−Melendez (1).Signed by US Magistrate Judge Camille L. Velez−Rive on
                     10/23/2013. (yr) [3:13−mj−01222−CVR] (Entered: 10/23/2013)
10/23/2013    9   10 INDICTMENT as to Emmanuel Colon−Melendez (1) counts 1, 2, Ricardo
                     Colon−Melendez (2) counts 1, 2. (ab) (Entered: 11/01/2013)
10/23/2013   10      Minute Entry for proceedings held before US Magistrate Judge Camille L.
                     Velez−Rive: Return of Indictment by Grand Jury as to Emmanuel
                     Colon−Melendez, Ricardo Colon−Melendez held on 10/23/2013. Defts. under
                     custody. Arraignment set for 10/23/13 at 1:30 PM before Mag. Judge
                     Camille Velez−Rive. (ab) (Entered: 11/01/2013)
10/23/2013   11      Minute Entry for proceedings held before US Magistrate Judge Camille L.
                     Velez−Rive: Arraignment/Detention as to Emmanuel Colon−Melendez (1)
                     Counts 1,2 held on 10/23/2013. Present were: AUSA Luke Cass and Atty.
                     Wilfredo Diaz. Defendant U/C was present and assisted by the Court
                     Interpreter. Defendant was found competent to understand the proceedings. He
                     waived the reading of the Indictment and entered a plea of not guilty as to all
                     counts. The parties will have 7 days for discovery and 14 days thereafter to file


                                                                                                         3
     Case
     Case 3:13-cr-00768-JAG
          5:21-cr-00074-OLG Document
                             Document98
                                      1 Filed
                                        Filed 02/05/21
                                              02/05/21 Page
                                                       Page 54 of
                                                               of 19
                                                                  19



                    any motions. Case is referred to Judge Fuste for scheduling. As to bail,
                    arguments were heard. Bail was imposed in the amount of $2,000.00 cash or
                    secured, home incarceration with EM, cost of EM to be paid by defendant, U/A
                    drug testing and/or treatment, plus all other standard conditions of release.
                    (Court Reporter FTR.)Hearing set for 01:30.Hearing held at 02:28.Hearing
                    ended at 02:38.Interpreter Sonia Crescioni. (grf) (Entered: 11/01/2013)
10/25/2013   13     ORDER Setting Conditions of Release as to Emmanuel Colon−Melendez (1)
                    $2,000.00 cash or secured. Signed by US Magistrate Judge Camille L.
                    Velez−Rive on 10/25/2013.(ab) (Entered: 11/04/2013)
10/25/2013   14     *RESTRICTED* Appearance Bond Entered as to Emmanuel Colon−Melendez
                    in amount of $2,000.00 in cash, Receipt # PRX100023097. (ab) (Entered:
                    11/04/2013)
11/07/2013   18     NOTICE OF ATTORNEY APPEARANCE: Evelyn Canals−Lozada appearing
                    for USA. (Canals−Lozada, Evelyn) (Entered: 11/07/2013)
11/13/2013   19     ORDER as to Emmanuel Colon−Melendez, Ricardo Colon−Melendez: Status
                    Conference set for 11/21/2013 04:45 PM in Courtroom 7 before Judge Jose
                    A. Fuste. Signed by Judge Jose A. Fuste on 11/13/2013. (dv) (Entered:
                    11/13/2013)
11/14/2013   20     MOTION to Withdraw as Attorney by Luke Cass. by USA as to Emmanuel
                    Colon−Melendez, Ricardo Colon−Melendez. Suggestions in
                    opposition/response due by 12/2/2013 (Cass, Luke) (Entered: 11/14/2013)
11/18/2013   21     ORDER granting 20 Motion to Withdraw as Attorney by Luke Cass as to
                    Emmanuel Colon−Melendez (1), Ricardo Colon−Melendez (2)Signed by Judge
                    Jose A. Fuste on 11/18/2013. (mrj) (Entered: 11/18/2013)
11/20/2013   22     MOTION to Continue Status Conference by Emmanuel Colon−Melendez.
                    Suggestions in opposition/response due by 12/6/2013 (Diaz−Narvaez,
                    Wilfredo) (Entered: 11/20/2013)
11/20/2013   24     ORDER granting 22 Motion to Continue as to Emmanuel Colon−Melendez (1);
                    granting 23 Motion to Continue as to Ricardo Colon−Melendez (2). Status
                    Conference set for 11/21/2013 IS RESET FOR 12/2/2013 04:00 PM in
                    Courtroom 7 before Judge Jose A. Fuste. Signed by Judge Jose A. Fuste on
                    11/20/2013. (dv) (Entered: 11/20/2013)
11/25/2013   25     ORDER as to Emmanuel Colon−Melendez, Ricardo Colon−Melendez: Status
                    Conference ADVANCED for 12/2/2013 02:00 PM in Courtroom 7 before
                    Judge Jose A. Fuste. Signed by Judge Jose A. Fuste on 11/25/2013.(dv)
                    (Entered: 11/25/2013)
12/02/2013   26     Minute Entry for proceedings held before Judge Jose A. Fuste: Status
                    Conference as to Emmanuel Colon−Melendez, Ricardo Colon−Melendez held
                    on 12/2/2013: Present: AUSA Evelyn Canals, Attys. Wilfredo Diaz, Victor A.
                    Ramos. Discovery and plea offers tendered. The firearm involved in the offense
                    was automatic. Change of Plea Hearing set for 12/13/2013 09:30 AM in
                    Courtroom 7 before Judge Jose A. Fuste. (Court Reporter Amy
                    Walker.)Hearing set for 02:00.Hearing held at 02:42.Hearing ended at 02:47.
                    (dv) (Entered: 12/04/2013)
12/12/2013   27

                                                                                                     4
     Case
     Case 3:13-cr-00768-JAG
          5:21-cr-00074-OLG Document
                             Document98
                                      1 Filed
                                        Filed 02/05/21
                                              02/05/21 Page
                                                       Page 65 of
                                                               of 19
                                                                  19



                    First MOTION for Extension of Time until December 23, 2013 to File Change
                    of Plea by Emmanuel Colon−Melendez. Suggestions in opposition/response due
                    by 12/30/2013 (Diaz−Narvaez, Wilfredo) (Entered: 12/12/2013)
12/13/2013   29     Minute Entry for proceedings held before Judge Jose A. Fuste: Change of Plea
                    Hearing as to Emmanuel Colon−Melendez held on 12/13/2013. Present: AUSA
                    Evelyn Canals, Atty. Wilfredo Diaz. Defendant is OB and present in court. Plea
                    entered by Emmanuel Colon−Melendez (1) Guilty Counts 1,2. Sentencing
                    Hearing set for 3/13/2014 09:30 AM in Courtroom 7 before Judge Jose A.
                    Fuste. PSI Report ordered. E−mail sent to USPO. Bail is revoked. Court
                    ordered defendant detained pending sentence. (Court Reporter Amy
                    Walker.)Hearing set for 09:30.Hearing held at 10:56.Hearing ended at
                    11:27.Interpreter Felix Toledo. (dv) (Entered: 12/16/2013)
12/13/2013   30     PLEA AGREEMENT as to Emmanuel Colon−Melendez (1). (dv) (Entered:
                    12/16/2013)
12/13/2013   31     ***SELECTED PARTIES*** PLEA SUPPLEMENT as to Emmanuel
                    Colon−Melendez (1). (dv) (Entered: 12/16/2013)
01/07/2014   36     Emergency MOTION Requesting Order by Emmanuel Colon−Melendez.
                    Suggestions in opposition/response due by 1/24/2014 (Diaz−Narvaez,
                    Wilfredo) (Entered: 01/07/2014)
01/09/2014   37     ORDER denying 36 Motion Requesting Order as to Emmanuel
                    Colon−Melendez (1); denying 35 Motion Requesting Order as to Ricardo
                    Colon−Melendez (2). Communication may be had by video conference,
                    telephone, and mail. In addition, Defendants will be transferred back to Puerto
                    Rico before the sentencing date. Signed by Judge Jose A. Fuste on 01/09/2014.
                    (mrj) (Entered: 01/09/2014)
02/05/2014   38     ***SELECTED PARTIES*** NOTICE of Disclosure of PSR Pursuant to
                    Local Rule 132, the U.S. Probation Officer makes disclosure of the presentence
                    report for the defendant of record. According to said rule, any inaccuracies or
                    discrepancies should be reported to the Probation Officer within 14 days from
                    disclosure of the document. Since the presentence report is a Court Document,
                    its contents must not be recorded or otherwise disseminated to third parties in
                    any manner, by USA, US Probation Office, Emmanuel Colon−Melendez (U.S.
                    Probation Officer, Jorge Santaella) (Entered: 02/05/2014)
02/18/2014   40     First MOTION for Extension of Time to File objections to the Presentence
                    Investigation Report by Emmanuel Colon−Melendez. Suggestions in
                    opposition/response due by 3/6/2014 (Diaz−Narvaez, Wilfredo) (Entered:
                    02/18/2014)
02/20/2014   41     ORDER granting 40 Motion for Extension of Time as to Emmanuel
                    Colon−Melendez (1). Objections to PSI due by 3/10/2014. Signed by Judge
                    Jose A. Fuste on 02/20/2014. (mrj) (Entered: 02/20/2014)
02/20/2014   42     First MOTION Requesting Order Defendant to be Transferred Back to the
                    District of Puerto Rico by Emmanuel Colon−Melendez. Suggestions in
                    opposition/response due by 3/10/2014 (Diaz−Narvaez, Wilfredo) (Entered:
                    02/20/2014)
02/21/2014   43


                                                                                                      5
     Case
     Case 3:13-cr-00768-JAG
          5:21-cr-00074-OLG Document
                             Document98
                                      1 Filed
                                        Filed 02/05/21
                                              02/05/21 Page
                                                       Page 76 of
                                                               of 19
                                                                  19



                    ORDER granting 42 Motion Requesting Order as to Emmanuel
                    Colon−Melendez (1). Defendant to be brought back to this District as soon as
                    possible. Signed by Judge Jose A. Fuste on 02/21/2014. (mrj) (Entered:
                    02/21/2014)
03/05/2014   45     ***SELECTED PARTIES*** NOTICE of Filing of Addendum to the PSR.
                    The addendum to the presentence investigation report has been filed in
                    compliance with Rule 32 of the Federal Rules of Criminal Procedure by USA,
                    US Probation Office, as to Emmanuel Colon−Melendez (U.S. Probation Office
                    Staff, Rebecca Perez) (Entered: 03/05/2014)
03/11/2014   47     ***SELECTED PARTIES*** NOTICE of Disclosure of Amended PSR
                    Pursuant to Local Rule 132, the U.S. Probation Officer makes disclosure of the
                    amended presentence report for the defendant of record. Since the presentence
                    report is a Court Document, its contents must not be recorded or otherwise
                    disseminated to third parties in any manner, by USA, US Probation Office,
                    Emmanuel Colon−Melendez (U.S. Probation Officer, Jorge Santaella) (Entered:
                    03/11/2014)
03/11/2014   48     First MOTION to Continue Sentencing Hearing by Emmanuel
                    Colon−Melendez. Suggestions in opposition/response due by 3/27/2014
                    (Diaz−Narvaez, Wilfredo) (Entered: 03/11/2014)
03/12/2014   49     ORDER granting 48 Motion to Continue as to Emmanuel Colon−Melendez (1).
                     Sentencing Hearings set for 3/13/2013 ARE RESET FOR 3/25/2014 09:30
                    AM in Courtroom 7 before Judge Jose A. Fuste AS TO BOTH
                    DEFENDANTS. Signed by Judge Jose A. Fuste on 03/12/2014. (dv) (Entered:
                    03/12/2014)
03/24/2014   50     ORDER as to Emmanuel Colon−Melendez (1), Ricardo Colon−Melendez (2):
                    Sentencing Hearings RESET for 3/25/2014 04:30 PM in Courtroom 7
                    before Judge Jose A. Fuste. Signed by Judge Jose A. Fuste on 03/24/2014.(dv)
                    (Entered: 03/24/2014)
03/24/2014   53     SENTENCING MEMORANDUM by Emmanuel Colon−Melendez
                    (Attachments: # 1 Exhibit) (Diaz−Narvaez, Wilfredo) (Entered: 03/24/2014)
03/24/2014   54     ***FILED IN ERROR−WRONG PDF*** OBJECTION TO PRESENTENCE
                    INVESTIGATION REPORT by Emmanuel Colon−Melendez as to Emmanuel
                    Colon−Melendez (Diaz−Narvaez, Wilfredo) Modified on 3/25/2014 (np).
                    (Entered: 03/24/2014)
03/25/2014          NOTICE of Docket Text Modification by Deputy Clerk re: 54 ***FILED IN
                    ERROR−WRONG PDF*** Objection to Presentence Investigation Report (np)
                    (Entered: 03/25/2014)
03/25/2014   56     OBJECTION TO PRESENTENCE INVESTIGATION REPORT by Emmanuel
                    Colon−Melendez as to Emmanuel Colon−Melendez (Diaz−Narvaez, Wilfredo)
                    (Entered: 03/25/2014)
03/25/2014   58     Minute Entry for proceedings held before Judge Jose A. Fuste: Sentencing held
                    on 3/25/2014 for Emmanuel Colon−Melendez (1). Present: SAUSA Daynelle
                    Alvarez, Atty. Wilfredo Diaz, USPO Manuel Casanova. Defendant is U/C and
                    present in court. 56 Objections to the PSR were discussed. Addendum to the
                    PSR to be filed to include the changes ordered by the Court. Facts of the case


                                                                                                     6
     Case
     Case 3:13-cr-00768-JAG
          5:21-cr-00074-OLG Document
                             Document98
                                      1 Filed
                                        Filed 02/05/21
                                              02/05/21 Page
                                                       Page 87 of
                                                               of 19
                                                                  19



                      reviewed. Statements in support of mitigation of punishment heard on behalf of
                      the defense. Defendant's allocution heard. The Court imposed a variance
                      sentence based on the nature and circumstances of the offense, including the
                      type of guns, caliber, modifications and ammunition involved in the case. The
                      sentence imposed is above the advisory guideline range. Counts 1, 2, IMPR for
                      60 months; SRT of 3 yrs; SMA of $200.00; Forfeiture. Defendant was advised
                      of his right to appeal the issue of the variance. (Court Reporter Amy
                      Walker.)Hearing set for 04:30.Hearing held at 04:39.Hearing ended at
                      05:14.Interpreter Felix Toledo. (dv) (Entered: 03/28/2014)
03/25/2014   59   13 JUDGMENT as to Emmanuel Colon−Melendez (1), Counts 1, 2, IMPR for 60
                     months; SRT of 3 yrs; SMA of $200.00; Forfeiture. Signed by Judge Jose A.
                     Fuste on 03/25/2014.(dv) (Entered: 03/28/2014)
03/31/2014   62       NOTICE OF APPEAL by Emmanuel Colon−Melendez. Re: 59 Judgment.

                      NOTICE TO COUNSEL: Counsel should register for a First Circuit
                      CM/ECF Appellate Filer Account at http://pacer.psc.uscourts.gov/cmecf/.
                      Counsel should also review the First Circuit requirements for electronic
                      filing by visiting the CM/ECF Information section at
                      http://www.ca1.uscourts.gov/efiling.htm (Diaz−Narvaez, Wilfredo) Modified
                      on 5/19/2014 creating link (np). (Entered: 03/31/2014)
04/08/2014   64       First MOTION for Return of Surety by Emmanuel Colon−Melendez (1).
                      Suggestions in opposition/response due by 4/24/2014 (Diaz−Narvaez,
                      Wilfredo) (Entered: 04/08/2014)
04/09/2014   66       ORDER granting 64 Motion for Return of Surety as to Emmanuel
                      Colon−Melendez (1). Signed by Judge Jose A. Fuste on 04/09/2014. (mrj)
                      (Entered: 04/09/2014)
04/10/2014   68       TRANSCRIPT REQUEST by Emmanuel Colon−Melendez (1) for proceedings
                      held on December 13, 2013 before Judge Jose A. Fuste. (Diaz−Narvaez,
                      Wilfredo) (Entered: 04/10/2014)
04/10/2014   69       TRANSCRIPT REQUEST by Emmanuel Colon−Melendez (1) for proceedings
                      held on March 25, 2014 before Judge Jose A. Fuste. (Diaz−Narvaez, Wilfredo)
                      (Entered: 04/10/2014)
04/10/2014            Check No.4241586 disbursed on 4/10/2014 in compliance with docket number
                      66. (ne) (Entered: 04/25/2014)
04/14/2014   71       Certified and Transmitted Record on Appeal as to Emmanuel Colon−Melendez
                      (1) to US Court of Appeals re 62 Notice of Appeal − Final Judgment, [Docket
                      Entries 59 & 62] (xi) (Entered: 04/14/2014)
04/15/2014   72       USCA Case Number 14−1422 for 62 Notice of Appeal − Final Judgment, filed
                      by Emmanuel Colon−Melendez. (xi) (Entered: 04/15/2014)
04/23/2014            USCA Appeal Fees received $ 505.00, receipt number PRX100026037 as to
                      Emmanuel Colon−Melendez (1) re 62 Notice of Appeal − Final Judgment,, :
                      (jla) (Entered: 04/23/2014)
06/17/2014   76       Judgment Returned Executed as to Emmanuel Colon−Melendez (1) on
                      4/18/2014. (mrb) (Entered: 06/19/2014)


                                                                                                       7
     Case
     Case 3:13-cr-00768-JAG
          5:21-cr-00074-OLG Document
                             Document98
                                      1 Filed
                                        Filed 02/05/21
                                              02/05/21 Page
                                                       Page 98 of
                                                               of 19
                                                                  19



07/02/2014   77     Transcript of Changes of Plea as to Emmanuel Colon−Melendez (1), Ricardo
                    Colon−Melendez (2) held on December 13, 2013, before Honorable United
                    States District Court Judge Jose A. Fuste. Court Reporter/Transcriber Amy
                    Walker, Telephone number prcsr123@gmail.com. COA Number: 14−1422.
                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have seven (7)
                    calendar days to file with the Court a Notice of Intent to Request Redaction of
                    this transcript. If no such Notice is filed, the transcript will be available
                    electronically to the public without redaction after 90 calendar days. The policy
                    is located at www.prd.uscourts.gov. Transcript may be viewed at the court
                    public terminal or purchased through the Court Reporter/Transcriber before the
                    deadline for Release of Transcript Restriction. After that date it may be
                    obtained through PACER. Redaction Request due 7/28/2014. Redacted
                    Transcript Deadline set for 8/7/2014. Release of Transcript Restriction set for
                    10/3/2014. (aw) (Entered: 07/02/2014)
07/02/2014   78     Transcript of Sentence as to Emmanuel Colon−Melendez (1) held on March 25,
                    2014, before Honorable United States District Court Judge Jose A. Fuste. Court
                    Reporter/Transcriber Amy Walker, Telephone number prcsr123@gmail.com.
                    COA Number: 14−1422, 14−1424. NOTICE RE REDACTION OF
                    TRANSCRIPTS: The parties have seven (7) calendar days to file with the Court
                    a Notice of Intent to Request Redaction of this transcript. If no such Notice is
                    filed, the transcript will be available electronically to the public without
                    redaction after 90 calendar days. The policy is located at
                    www.prd.uscourts.gov. Transcript may be viewed at the court public terminal or
                    purchased through the Court Reporter/Transcriber before the deadline for
                    Release of Transcript Restriction. After that date it may be obtained through
                    PACER. Redaction Request due 7/28/2014. Redacted Transcript Deadline set
                    for 8/7/2014. Release of Transcript Restriction set for 10/3/2014. (aw) (Entered:
                    07/02/2014)
08/11/2015   80     JUDGMENT of USCA (certified copy) as to Emmanuel Colon−Melendez (1),
                    Ricardo Colon−Melendez (2) re 62 Notice of Appeal − Final Judgment, 63
                    Notice of Appeal − Final Judgment; AFFIRMED. (xi) (Entered: 08/11/2015)
09/02/2015   81     MANDATE of USCA (certified copy) as to Emmanuel Colon−Melendez,
                    Ricardo Colon−Melendez re 62 Notice of Appeal − Final Judgment, 63 Notice
                    of Appeal − Final Judgment; AFFIRMED. RE: 80 JUDGMENT of USCA. (xi)
                    (Entered: 09/02/2015)
09/02/2015          Appeal Record Returned as to Emmanuel Colon−Melendez (1), Ricardo
                    Colon−Melendez (2): 62 Notice of Appeal − Final Judgment, 63 Notice of
                    Appeal − Final Judgment RE: 81 USCA Mandate, USCA Appeal Fees, 73
                    Appeal Record Sent to USCA, 80 USCA Judgment, 71 Appeal Record Sent to
                    USCA. (xi) (Entered: 09/02/2015)
06/27/2016   82     MEMORANDUM OF THE CLERK: In view of the retirement of Judge Jose A.
                    Fuste, this case has been randomly reassigned within the Case Assignment
                    System to the docket of Judge Jay A. Garcia−Gregory. Signed by Clerk on
                    6/27/2016. (nat) (Entered: 06/27/2016)
06/27/2016   84     COPY OF MOTION to Vacate under 28 U.S.C. 2255 by Emmanuel
                    Colon−Melendez (1)Pro Se. (Attachments: # 1 Supplement, # 2 Cover Letter, #
                    3 Envelope)(arg)
                    Civil case 3:16−cv−02193−JAG opened. (Entered: 06/27/2016)

                                                                                                        8
     Case 5:21-cr-00074-OLG
          3:13-cr-00768-JAG Document 98
                                     1 Filed
                                        Filed02/05/21
                                              02/05/21 Page
                                                        Page10
                                                             9 of 19



10/30/2018   85       *RESTRICTED* ARREST Warrant Returned Executed on 10/17/2013 in case
                      as to Emmanuel Colon−Melendez (1). (rim) (Entered: 01/11/2019)
09/18/2019   89       Copy of ORDER denying 84 Motion to Vacate (2255) as to Emmanuel
                      Colon−Melendez (1), re: 16−cv−2193. Signed by Judge Jay A. Garcia−Gregory
                      on 9/18/19. (mg)
                      Civil Case 3:16−cv−02193−JAG closed. (Entered: 09/23/2019)
09/18/2019   90       COPY OF JUDGMENT 2255 as to Emmanuel Colon−Melendez (1). Signed
                      by Judge Jay A. Garcia−Gregory on 9/18/19.(mg) (Entered: 09/23/2019)
01/11/2021   91       MOTION Notifying Violations of Supervised Release Conditions and
                      Requesting the Issuance of an Arrest Warrant by US Probation Office as to
                      Emmanuel Colon−Melendez (1). Responses due by 1/25/2021. NOTE: Pursuant
                      to FRCP 6(a) an additional three days does not apply to service done
                      electronically. (U.S. Probation Officer, Tania Abrew) Modified on 1/12/2021
                      remove all caps (gav). (Entered: 01/11/2021)
01/12/2021   92       ORDER as to Emmanuel Colon−Melendez (1) re 91 Informative Motion
                      Notifying Violations of Supervision Conditions, filed by US Probation Office.
                      The defendant shall be taken to THE MAGISTRATE JUDGE ON DUTY
                      AT THE MOMENT OF DEFENDANT'S ARREST. Arrest warrant to be
                      issued. Signed by Judge Jay A. Garcia−Gregory on 1/12/2021.(su) (Entered:
                      01/12/2021)
01/12/2021   93       *RESTRICTED* Arrest Warrant Issued by Judge Jay A. Garcia−Gregory in
                      case as to Emmanuel Colon−Melendez (1). (su) (Entered: 01/12/2021)
01/13/2021   94       NOTICE OF ATTORNEY APPEARANCE: Pedro R. Casablanca−Sagardia
                      appearing for USA on the supervised release issue for 1 Emmanuel
                      Colon−Melendez. (Casablanca−Sagardia, Pedro) Modified on 1/14/2021
                      remove italics (gav). (Entered: 01/13/2021)
01/14/2021   95       MOTION to Withdraw as Attorney by AUSA Evelyn Canals as to Emmanuel
                      Colon−Melendez, Ricardo Colon−Melendez. Responses due by 1/28/2021.
                      NOTE: Pursuant to FRCP 6(a) an additional three days does not apply to
                      service done electronically. (Canals−Lozada, Evelyn) Modified on 1/15/2021
                      edit text (gav). (Entered: 01/14/2021)
01/19/2021   96       ORDER granting 95 Motion to Withdraw as Attorney. Evelyn Canals−Lozada
                      withdrawn from case. Signed by Judge Jay A. Garcia−Gregory on 1/19/2021.
                      (su) (Entered: 01/19/2021)
02/05/2021   97   19 Supervised Release Transferred to Western District of Texas as to Emmanuel
                     Colon−Melendez (1) Transmitted Transfer of Jurisdiction form. (gav) (Entered:
                     02/05/2021)




                                                                                                      9
Case
Case
 Case3:13-cr-00768-JAG
     5:21-cr-00074-OLG
       3:13-cr-00768-JAGDocument
                         Document
                          Document
                                 98
                                  19 Filed
                                     Filed
                                      Filed02/05/21
                                           02/05/21
                                            10/23/13 Page
                                                     Page
                                                      Page11
                                                          10
                                                           1 of
                                                              of319
                                                                 19




                                                                      10
Case
Case
 Case3:13-cr-00768-JAG
     5:21-cr-00074-OLG
       3:13-cr-00768-JAGDocument
                         Document
                          Document
                                 98
                                  19 Filed
                                     Filed
                                      Filed02/05/21
                                           02/05/21
                                            10/23/13 Page
                                                     Page
                                                      Page12
                                                          11
                                                           2 of
                                                              of319
                                                                 19




                                                                      11
Case
Case
 Case3:13-cr-00768-JAG
     5:21-cr-00074-OLG
       3:13-cr-00768-JAGDocument
                         Document
                          Document
                                 98
                                  19 Filed
                                     Filed
                                      Filed02/05/21
                                           02/05/21
                                            10/23/13 Page
                                                     Page
                                                      Page13
                                                          12
                                                           3 of
                                                              of319
                                                                 19




                                                                      12
                         Case
                         Case
                          Case3:13-cr-00768-JAG
                              5:21-cr-00074-OLG
                               3:13-cr-00768-JAG Document
                                                  Document
                                                  Document98
                                                           159 Filed
                                                               Filed
                                                                 Filed02/05/21
                                                                      02/05/21
                                                                       03/25/14 Page
                                                                                Page
                                                                                 Page14
                                                                                     13
                                                                                      1 of
                                                                                        of 19
                                                                                           6
                                                                                           19
        
                 ! 



                                           "#$%&'              %%& '$ % $%" %
                                             District of Puerto Rico
                                       ((((((((((')*+((((((((((
                                                         
                "#$%&' %%& ,-& $                     JUDGMENT IN A CRIMINAL CASE
                           v.                            
                EMMANUEL COLON-MELENDEZ                  
                                                              #. / 3:13-CR-00768-001 (JAF)
                                                             " -#. / 42979-069
                                                         
                                                              Wilfredo Diaz-Narvaez, Esq.
                                                                                          ' + 0* 1
THE DEFENDANT:
✔2  1*)* 
G                                      One and Two of the Indictment on December 13, 2013.

G 2  **)*   *)* 
   3!)!3)) 2 .1! )*
G 3+*1*)* 
   + 2 *+*1

%!  + 4) 1*+!  *++  /

Title & Section                    Nature of Offense                                                                              Offense Ended                         Count
 18:922(o) and 2, 18:924(a)(2)       Possession of a machine gun                                                                    October 17, 2013                     ONE

 18:922(k) and 924(a)(1)(B)          Possession of a firearm with an obliterated serial number                                      October 17, 2013                     TWO




        %!  +   ) 2*  2 !*!                    6             *+!4  %!   ) 2* 2*
!     ) +*)*+5
G %!  + !. +**1*)* 
G *                                                   G        G   *! ***+! "   
         $*  !!  + *+1! "   * 1+*!)3!61*+1)! *+ 7  ) 7
* + 7 *7)*72 )  2* .1!4  +12 $+*  *21 *7
!  + *+1! )*"   * 1*+ )!  )**)))) 

                                                                                March 25, 2014
                                                                               ' *+$2***+ 


                                                                                S/JOSE A. FUSTE
                                                                                  *+




                                                                                José A. Fusté                                               US District Judge
                                                                               # *+ % *+


                                                                                March 25, 2014
                                                                               '




                                                                                                                                                                                13
                        Case
                        Case
                         Case3:13-cr-00768-JAG
                             5:21-cr-00074-OLG
                              3:13-cr-00768-JAG Document
                                                 Document
                                                 Document98
                                                          159 Filed
                                                              Filed
                                                                Filed02/05/21
                                                                     02/05/21
                                                                      03/25/14 Page
                                                                               Page
                                                                                Page15
                                                                                    14
                                                                                     2 of
                                                                                       of 19
                                                                                          6
                                                                                          19
          
             ! 9$2* 

                                                                                                       9:   2       *+   6
'&,&#'#%/ EMMANUEL COLON-MELENDEZ
 &#"-& / 3:13-CR-00768-001 (JAF)


                                                            IMPRISONMENT

         %!  + !  .1)* *! )*1*+! "    *+:**. 2* +*
* *+/
    SIXTY (60) MONTHS.




     ✔ %! )*; ! +**3 )* **!  *+:*/
     G

 - That the defendant be designated to Coleman or an institution in Florida.



     ✔ %!  +   *! )*1*+! "   -!
     G

     G %!  + !  *! "   -!+*!)/
          G                                      G         G 2         *

          G *+ .1! "   -!

     G %!  + !  +*  ) *+  ) ! *  .1!  *+:*/
          G . +* 2  *
          G *+ .1! "   -!
          G *+ .1! :*.**:   ) ++)


                                                                  RETURN
$!  < ) !4 +**3/




          ' +    *                                                          *

                                                   73!) + )*21*+!4 



                                                                                                   "#$%&' %%& -    =>


                                                                          1
                                                                                                '&:"%?"#$%&' %%& -      =>




                                                                                                                                        14
                         Case
                         Case
                          Case3:13-cr-00768-JAG
                              5:21-cr-00074-OLG
                               3:13-cr-00768-JAG Document
                                                  Document
                                                  Document98
                                                           159 Filed
                                                               Filed
                                                                 Filed02/05/21
                                                                      02/05/21
                                                                       03/25/14 Page
                                                                                Page
                                                                                 Page16
                                                                                     15
                                                                                      3 of
                                                                                        of 19
                                                                                           6
                                                                                           19
           
              ! 69 2     

                                                                                                            9: 
                                                                                                                              3      *+
                                                                                                                                               6
'&,&#'#%/ EMMANUEL COLON-MELENDEZ
 &#"-& / 3:13-CR-00768-001 (JAF)
                                                         SUPERVISED RELEASE
"2*   +*2* 7!  + !. *2      +* *+/
 THREE (3) YEARS.

        %!  +  2**! 2*.**++) ! )*3!)!!  +    3!@!**+   +*!
)*1*+!  *+:*
%!  + !*)**! +  7 **))
%!  + !*3+12* )** .) %!  + ! ++*13+ *+)** 
.) %!  + !.**  3!1*+   +*2*  3*2 *) 
!  + 7   .1! )*
G %! .*  )**2  7. *! )*0  *!!  + 2* *3;*+
       + .) . (Check, if applicable.)

✔ %!  + !*2* + 7*7 )  ) 7*1*!  *3 2* (Check, if applicable.)
G
✔ %!  + !)**2  ! )* )**+'# ) .1! 2*.**++)  (Check, if applicable.)
G

G %!   + !)*213!!  A  *+!  <++   *#*+)*) "  BC7et seq 
   ) .1! 2*.**++) 7!  *+:*7*1  <*++   * )13!)!! *!   7
       3*;7 7*3)* ) *+A+1*++  (Check, if applicable.)

G %!  + !2)2 22* 2*+** ) * ) (Check, if applicable.)
         $+!4 2* + * *7)***+2      !!  + 21))*) 3!!
  )!  *+:1 ! *+!4 
         %!  + )*213!! )**!! . *2 .1!)*3 3!1*
                                                                                                                                )**
*! )! 2

                                          STANDARD CONDITIONS OF SUPERVISION
        !  + !*  ! 4))3!*! 2 **+! )**2*.**++) E
        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  6      !  + !3 !+1A .1! 2*.**++) +**3! )**+! 2*.**++) E
        !  + !22*!*!  2   *! +1 2*. E
        !  + !3*; 13+*))2*7   <) .1! 2* .**++) +*)!**77* *! 
          )) 2.  *E
  C      !  + !*+1! 2*.**++)   12**1)!   ) * 2*1 E
  @      !  + ! ++* <)   *+)*!*!*2)! 72* 7 7. 7* 1
          )** .) *122!   *1)** .) 7 <) 22 ). .12!1)E
  5      !  + !*+ A 2) 3!  )** .)   1*7 7. 7*  E
        !  + !**) 3!12 *  )) 1!**) 3!12 *)* ) *+
          + *17  2 ****.1! 2*.**++) E
       !  + !2 2*.**++) * !*! 1 !* *  3!  !2 )*+)**+1
          )*.*.  2  3*+! 2*.**++) E
       !  + !*+1! 2*.**++) 3!     1F3*!**+.   *A * .13 +*)  *++) E
       !  + !*  *1  *) +* *2 ) *+3 +*)   )13!*!
          2 **+! )*E

 6       ) .1! 2*.**++) 7!  + !*+1!2 *+;!1. *))* .1!  + 0)
           )* *2 *!*1*)!) )!2   !  2*.**++) * ;  )!* +)* *)*+  !
           + 0)*2) 3!)!*+)* A  




                                                                                                                                                   15
                     Case
                     Case
                      Case3:13-cr-00768-JAG
                          5:21-cr-00074-OLG
                           3:13-cr-00768-JAG Document
                                              Document
                                              Document98
                                                       159 Filed
                                                           Filed
                                                             Filed02/05/21
                                                                  02/05/21
                                                                   03/25/14 Page
                                                                            Page
                                                                             Page17
                                                                                 16
                                                                                  4 of
                                                                                    of 19
                                                                                       6
                                                                                       19
         
            ! 69 2     

                                                                                                     9:     4     *+       6
'&,&#'#%/ EMMANUEL COLON-MELENDEZ
 &#"-& / 3:13-CR-00768-001 (JAF)

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 1. The defendant shall not commit another Federal, state, or local crime, and shall observe the standard conditions of supervised
 release recommended by the United States Sentencing Commission and adopted by this Court.

 2. The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance and submit to a drug test within 15 days of release and thereafter, submit to random drug test, no less than 3 samples during
 the supervision period and not to exceed 104 samples per year in accordance with the Drug Aftercare Program Policy of the U.S.
 Probation Office approved by this Court. If any such samples detect substance abuse, the defendant shall participate in a in-patient or
 out-patient substance abuse program, for evaluation and/or treatment, as arranged by the U.S. Probation Officer until duly discharged.
 The defendant is required to contribute to the cost of services rendered (co-payment) in an amount arranged by the U.S. Probation
 Officer based on the ability to pay or availability of third party payment.

 3. The defendant shall provide the U.S. Probation Officer access to any financial information upon request.

 4. The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §1030(e)(1)),
 other electronic communications or data storage devices or media, or office, to a search, conducted by a United States Probation
 Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
 condition of release. Failure to submit to a search may be grounds for revocation of release. Defendant shall warn any other residents
 that the premises may be subject to searches pursuant to this condition.

 5. The defendant shall cooperate in the collection of a DNA sample as directed by the U.S. Probation Officer, pursuant to the Revised
 DNA Collection Requirements, and the Title 18, U.S. Code § 3563(a)(9).

 6. The defendant shall participate in a vocational training and/or job placement program recommended by the U.S. Probation Officer.




                                                                                                                                           16
                        Case
                        Case
                         Case3:13-cr-00768-JAG
                             5:21-cr-00074-OLG
                              3:13-cr-00768-JAG Document
                                                 Document
                                                 Document98
                                                          159 Filed
                                                              Filed
                                                                Filed02/05/21
                                                                     02/05/21
                                                                      03/25/14 Page
                                                                               Page
                                                                                Page18
                                                                                    17
                                                                                     5 of
                                                                                       of 19
                                                                                          6
                                                                                          19
           
             ! 9-* 1:  

                                                                                                     9: 
                                                                                                                          5     *+      6
'&,&#'#%/ EMMANUEL COLON-MELENDEZ
 &#"-& / 3:13-CR-00768-001 (JAF)
                                                CRIMINAL MONETARY PENALTIES
     %!  + 21! *)* 12   ! )!  *+21 * ! C

                       Assessment                                         Fine                              Restitution
TOTALS              $ 200.00                                            $ 0.00                            $ 0.00


G %!   **+ * +   Amended Judgment in a Criminal Case(AO 245C) 3.    
     + )!  *

G %!  + ;  * ))*1 **! +**321 ! * . *3
     $+!  + ; 221 7 )!21 ! )  22*< 12*2** 21 7 2 )+ *! 3 
     ! 2*1* *2 )  21 )*. *3 =*3 72*5"  B6CC 7*+   ) . 2
     . +* ! "   2

 Name of Payee                                                         Total Loss*           Restitution Ordered       Priority or Percentage




TOTALS                                G                         0.00          G                    0.00


G         ***  2*2   G

G    %!  + 21  * *+ *+* !G77 !  **+ 2+. +* !
     ++ !1+ !  *+! 4 72*5"  B6C + *+! 21 *2** ! C1. .4 )
     *2  +* A )1 +72*5"  B6C 

G    %! )*   !!  + * *! ! .1*21  *  !/

     G !    A  3 +*!                G +       G  *
     G !    A  +*!                G +    G  **+ +**3/


H,+*! ***+*   A  !2 7776*+% 5+*
                                                                                                              *++  )* **+ 
   2 . 677.. +* 267C


                                                                                                                                                17
                         Case
                         Case
                          Case3:13-cr-00768-JAG
                              5:21-cr-00074-OLG
                               3:13-cr-00768-JAG Document
                                                  Document
                                                  Document98
                                                           159 Filed
                                                               Filed
                                                                 Filed02/05/21
                                                                      02/05/21
                                                                       03/25/14 Page
                                                                                Page
                                                                                 Page19
                                                                                     18
                                                                                      6 of
                                                                                        of 19
                                                                                           6
                                                                                           19
AO 245B     (Rev. 09/) Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments
                                                                                                                    Judgment — Page          6   of   6
DEFENDANT: EMMANUEL COLON-MELENDEZ
CASE NUMBER: 3:13-CR-00768-001 (JAF)

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     G     Lump sum payment of $                                  due immediately, balance due

            G     not later than                                       , or
            G     in accordance           G    C,      G   D,     G      E, or     G    F below; or

B     G     Payment to begin immediately (may be combined with                   G C,         G D, or       G F below); or
C     G     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     G     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     G     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G     The defendant shall pay the cost of prosecution.

G     The defendant shall pay the following court cost(s):

✔
G     The defendant shall forfeit the defendant’s interest in the following property to the United States:

       One Glock pistol, model 27, caliber .40, Serial Number SFY529 and a magazine loaded with 22 rounds of ammunition, caliber .40;
       one Glock Pistol, Model 22, .40 caliber, bearing serial number KDL-616 loaded with 22 rounds of .40 caliber ammunition with an
       automatic conversion kit; one Extar pistol, Model EXP556, 5.56 caliber, bearing an obliterated serial number loaded with 20 rounds
       of .223 caliber ammunition; and any additional magazines, weapons, or ammunitions involved in the commission of the offense.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.


                                                                                                                                                      18
